Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 1 of 11




                    EXHIBIT
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 2 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 3 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 4 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 5 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 6 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 7 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 8 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 9 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 10 of 11
Case 1:24-cv-01671-CCC   Document 30-1   Filed 10/11/24   Page 11 of 11
